 1                                                                           Hon. Timothy W. Dore
                                                                                           Ch. 13
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 7                           UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF WASHINGTON
 8
     In re:                                                Case No. 23-10050-TWD
 9                                                         Adversary No.
     NICHOLE PORTIA LEIGH,
10
                        Debtor.
11

12   CIRCLE SYSTEMS, INC., a Washington                    COMPLAINT
     corporation,
13
                         Plaintiff,
14
              v.
15
     NICHOLE PORTIA LEIGH, an individual, and
16   NEPTUNE GLOBAL, LLC, a Washington
     limited liability company,
17
                        Defendants.
18            Circle Systems, Inc. (“Circle Systems” or “Plaintiff”), plaintiff and creditor, for its
19   adversary complaint against Nichole Portia Leigh (“Debtor”), debtor and defendant, and Neptune
20   Global, LLC (“Neptune” and together with Debtor, collectively, the “Defendants”), co-debtor and
21   co-defendant, hereby alleges and claims as follows:
22
                                                I. PARTIES
23            1.     Circle Systems is a Washington corporation with its principal place of business in
24   Seattle, Washington.
25            2.     Debtor is an individual and is the debtor in Case No. 23-10050-TWD.
26

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 1           3.     Neptune is a Washington limited liability company not in good standing. Debtor’s

 2   petition identifies Neptune as a “doing business as” name for Debtor. Neptune is also listed as a

 3   co-debtor on Debtor’s Schedule H.

 4                                   II. JURISDICTION AND VENUE
 5           4.     This Court has jurisdiction pursuant to 28 U.S.C. §§ 157 and 1334.

 6           5.     This matter is a core proceeding under 28 U.S.C. § 157(b)(2)(I)–(J) related to a case

 7   pending in this Court under Chapter 13 of the Bankruptcy Code, captioned as In re Nichole Portia

 8   Leigh, Case No. 23-10050-TWD.

 9           6.     Pursuant to Fed. R. Bankr. P. 7008, Plaintiff consents to entry of final orders or

10   judgments by this Court for any and all matters arising in, or relating to, this adversary proceeding.

11           7.     Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

12                                               III. FACTS
13   A.      Background of Circle Systems
14           8.     Circle Systems is a provider of software solutions. Its leading product is named

15   Stat/Transfer. This product allows for fast, reliable, and convenient data transfer between statistical

16   packages, databases, and spreadsheets.

17           9.     Circle Systems licenses Stat/Transfer to Original Equipment Manufacturer

18   customers for inclusion in their software products and licenses Stat/Transfer directly to end users

19   as a stand-alone software program.

20           10.    Circle Systems also sells licenses to its stand-alone software program through

21   resellers.

22           11.    Circle Systems has established domestic and foreign reseller relationships.

23   B.      Debtor’s Employment at Circle Systems
24           12.    Debtor was an employee of Circle Systems from August 2012 until she was fired

25   for misconduct on February 19, 2020.

26           13.    In her employment at Circle Systems, Debtor was responsible for accounting,

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 1   invoicing, sales, and relationships with resellers.

 2           14.    Debtor obtained access to a significant amount of Circle Systems’ confidential

 3   information and trade secrets, including, but not limited to, unique and intimate familiarity with

 4   Circle Systems’ proprietary information, its confidential sales and marketing information, its

 5   customer relationships, and its operational strategies.

 6   C.      Debtor’s Scheme to Divert Customers and Misappropriate Circle Systems’ Assets
 7           15.    While working for Circle Systems, Debtor formed Neptune on or about January 31,

 8   2018.

 9           16.    After forming Neptune, Debtor engaged in a scheme to divert customers from

10   Circle Systems to Neptune, generating licenses for the software, and then billing the customers

11   through Neptune.

12           17.    In her role as accountant, Debtor would generate invoices from Circle Systems to

13   Neptune for some, but not all, of the business and pay some money by credit card to Circle

14   Systems. The use of a credit card meant that the Neptune’s name did not appear in the bank

15   statement.

16           18.    Debtor used aliases, including “Jessie Halston,” at Neptune, to disguise her dual

17   roles with Neptune and Circle Systems.

18           19.    Upon information and belief, the amount paid to Circle Systems was considerably

19   less than the value of the licenses she generated. Debtor took, without authorization, a 30 to 40

20   percent commission in Neptune’s assumed role as a reseller.

21           20.    Upon information and belief, Debtor did not sell licenses for the product to new

22   customers that she independently found. Instead, Debtor took away an unknown number of

23   customers who were trying to buy directly from Circle Systems.

24           21.    Circle Systems discovered the misconduct on or about February 18, 2020, when a

25   customer complained about how his license had prematurely expired. To prove his point, the

26   customer attached a letter from the company from which he purchased his software. The company

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 1   “Neptune Technologies,” identified itself as a Seattle company that was an “authorized reseller” of

 2   Stat/Transfer. Never having heard of “Neptune Technologies” and knowing that there was no

 3   authorized reseller in Seattle, Plaintiff looked up “Neptune Technologies” and discovered the

 4   connection with Debtor. After examining its books, Plaintiff identified a trail of invoices and

 5   payments between Circle Systems and Neptune and observed that the line items on those invoices

 6   were designed to conceal and make untraceable what was sold and to whom.

 7          22.     Following discovery of the misconduct, Plaintiff has requested complete

 8   information from Defendants on what licenses were sold through Neptune, to whom, and at what

 9   price. Defendants did not respond.

10          23.     To accomplish the misconduct described above, Defendants accessed and used

11   Circle Systems’ confidential proprietary information and trade secrets.

12          24.     During her employment by Circle Systems, Debtor misused her access to protected

13   computers and accounts to accomplish the misconduct described above. After her termination,

14   Defendants accessed protected computers without authorization, specifically files stored on Circle

15   Systems’ Google Drive under the “Sales” account.

16          25.     While employed by Circle Systems, Debtor secretly gave permission to access

17   those files to a user identified as “halston@neptunetech.com.” The files continued to be accessed

18   by that user after Debtor was terminated from employment with Circle Systems.

19          26.     Debtor continued to divert sales from Circle Systems or its other resellers since her

20   termination and misappropriated Circle Systems’ trade secrets and confidential proprietary

21   information to do so.

22   D.     State Court Action
23          27.     On May 21, 2020, Circle Systems sued Defendants in King County Superior Court,

24   Case No. 20-2-09099-9-SEA, for the misconduct described above.

25          28.     Circle Systems’ damages exceed $736,000.

26          29.     On July 30, 2022, Defendants answered, and Debtor alleged counterclaims.

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 1          30.     On December 16, 2022, Circle Systems moved to dismiss Debtor’s counterclaims

 2   on summary judgment. A hearing on the motion was scheduled for January 13, 2023.

 3   E.     The Bankruptcy Proceeding
 4          31.     On January 12, 2023—one day before the hearing—Debtor filed a voluntary

 5   petition under Chapter 13 (“Petition”), initiating this bankruptcy proceeding. See Dkt. No. 1.

 6          32.     On that same day, Debtor also filed her Schedules and Statements and her Chapter

 7   13 Plan. See Dkt. Nos. 1 and 2.

 8          33.     On February 27, 2023, the Chapter 13 Trustee held a Meeting of Creditors pursuant

 9   to 11 U.S.C. § 341. The meeting was continued to March 20, 2023, because Debtor’s testimony

10   raised several questions about the accuracy and completeness of her Schedules.

11          34.     On March 17, 2023, Circle Systems filed its Proof of Claim based on the pending

12   State Court Action in the amount of $736,660.00. See POC No. 19.

13          35.     In her Schedules, Debtor has characterized Circle Systems’ claim as “unliquidated”

14   and “disputed.”

15                                       IV. CAUSES OF ACTION
16   A.     Intentional Interference with Business Expectancy
17          36.     Plaintiff had business relationships and reasonable business expectancies with

18   respect to the sale and licensing of Plaintiff’s software.

19          37.     Defendants knew or should have known that Plaintiff had business relationships and

20   reasonable business expectancies with respect to the sale and licensing of Plaintiff’s software.

21          38.     Defendants intended to and did interfere with Plaintiff’s relationships and

22   expectancies in ways that diverted customers from Plaintiff to Neptune.

23          39.     Defendants interfered through improper conduct, including: (i) falsely representing

24   to customers that Neptune was an authorized reseller of Stat/Transfer and other software products;

25   and (ii) disguising her scheme through the use of aliases, credit cards, and invoicing practices.

26          40.     Plaintiff suffered harm as a result of Defendants’ improper interference with

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 1   Plaintiff’s business relationships and business expectancies.

 2          41.     Accordingly, Plaintiff is entitled to a judgment for intentional interference with a

 3   business relationship and business expectancy in an amount to be proven at trial.

 4   B.     Misappropriation of Trade Secrets
 5          42.      Plaintiff’s proprietary information, confidential sales, marketing information,

 6   customer relationships, operational strategies, client lists, vendor lists, and software products and

 7   licenses, and other confidential proprietary information (collectively, “Trade Secrets”) all

 8   constitute trade secrets under the Washington’s Uniform Trade Secrets Act, ch. 19.108 RCW.

 9          43.     During her employment with Plaintiff, Debtor had substantial access to Trade

10   Secrets.

11          44.     Debtor misappropriated Trade Secrets by using them in furtherance of Neptune

12   without Plaintiff’s knowledge or authorization.

13          45.     Debtor knew or had reason to know that she was acquiring and using Trade Secrets

14   without proper authorization and proper means.

15          46.     Accordingly, Debtor willfully, knowingly, and maliciously misappropriated Trade

16   Secrets.

17          47.     Debtor’s misappropriation of Trade Secrets has harmed Plaintiff.

18          48.     Accordingly, Plaintiff is entitled to an allowed claim and judgment for violation of

19   Washington’s Uniform Trade Secrets Act, ch. 19.108 RCW, in an amount to be proven at trial.

20   C.     Computer Fraud and Abuse Act, 18 U.S.C. § 1030
21          49.     Plaintiff’s computers, systems, and servers are involved in interstate commerce and

22   communications within the meaning of 18 U.S.C. § 1030(e)(2).

23          50.     Debtor knowingly and intentionally accessed Plaintiff’s computer files and system

24   without authorization for the purpose of: (i) diverting business and revenue from Plaintiff to

25   Neptune; (ii) obtaining and using Trade Secrets in violation of 18 U.S.C. § 1030(a)(2); and (iii)

26   harming Plaintiff in violation of 18 U.S.C. § 1030(a)(4).

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 1          51.     Debtor’s violations of 18 U.S.C. § 1030 have harmed Plaintiff.

 2          52.     Accordingly, Plaintiff is entitled to an allowed claim and judgment for violation of

 3   18 U.S.C. § 1030 in an amount to be proven at trial.

 4   D.     Breach of Fiduciary Duty
 5          53.     Debtor owed Plaintiff a fiduciary duty of loyalty.

 6          54.     Debtor breached her fiduciary duty of loyalty by secretly forming Neptune and

 7   secretly diverting customers and prospective customers from Plaintiff to Neptune.

 8          55.     In the course of breaching her fiduciary duty of loyalty, Debtor falsely represented

 9   that Neptune was an authorized reseller of Plaintiff’s software products, including Stat/Transfer,

10   and obfuscated her scheme through the use of aliases, credit cards, and invoicing practices.

11          56.     Debtor’s breach of her fiduciary duty of loyalty has harmed Plaintiff.

12          57.     Accordingly, Plaintiff is entitled to an allowed claim and judgment for breach of

13   fiduciary duty in an amount to be proven at trial.

14   E.     Civil Conspiracy
15          58.     Defendants made an agreement with and conspired with one another to commit a

16   wrong for their benefit.

17          59.     As alleged above, one or both Defendants in fact committed one or more wrongful

18   acts in furtherance of their agreement to commit a wrong.

19          60.     Plaintiff has suffered harm as a result of said civil conspiracy.

20          61.     Accordingly, with respect to Debtor, Plaintiff is entitled to an allowed claim and

21   judgment holding Debtor jointly and severally liable, as a civil conspirator, on the foregoing

22   causes of action.

23          62.     Plaintiff is further entitled ultimately to a judgment holding Neptune jointly and

24   severally liable, as a civil conspirator, on the foregoing causes of action.

25   F.     Non-Dischargeability under 11 U.S.C. §§ 523(a)(4) and 532(a)(6)
26          63.     Plaintiff’s claims are for fraud or defalcation while acting in a fiduciary capacity.

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 1            64.       Plaintiff’s claims are also for a willful and malicious injury to Plaintiff and

 2   Plaintiff’s property.

 3            65.       Accordingly, Plaintiff is entitled to an order under 11 U.S.C. §§ 523(a)(4) and

 4   523(a)(6) exempting said allowed claim and judgment against Debtor from discharge under

 5   11 U.S.C. § 1328.

 6                                         V. PRAYER FOR RELIEF
 7            WHEREFORE, the Plaintiff prays for the following relief:

 8            1.        Entry of Findings of Fact and Conclusions of Law or, if appropriate, a Judgment in

 9   favor of Plaintiff and against Defendants, jointly and severally, for liability and damages, including

10   reasonable attorney fees as allowed by law or equity in an amount to be proven at trial;

11            2.        An Order under 11 U.S.C. § 502 allowing Plaintiff a claim in an amount to be

12   proven at trial;

13            3.        An Order under 11 U.S.C. §§ 523(a)(4) and 523(a)(6) exempting said claim and

14   Judgment from discharge under 11 U.S.C. § 1328; and

15            4.        Such other relief as the Court deems just and proper.

16
     Dated: April 28, 2023                                 SNELL & WILMER L.L.P.
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18
                                                           By: /s/ Amit D. Ranade
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